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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                  CASE NO: 2:11-CR-129-FtM-UASPC

WILLIAM PEREZ, JR.



                                             ORDER

       This matter comes before the Court on the Motion for Order Authorizing Investigator to

Have Contact Visits with Defendant Perez and to Bring a Laptop Computer Into the Facility

(Doc. #57) filed on February 24, 2012. Counsel moves the Court for an Order directing the Lee

County Jail to authorize contact visits with Defense Counsel’s Investigator with the use of a

laptop computer for the purpose of viewing CD ROM discovery. As grounds, Counsel indicates

that it is necessary for the Investigator to review the video discovery with the Defendant. It is

not noted whether the Government has an objection to the relief requested. However, upon

review, the Court finds good cause and will grant permission for the Investigator to meet with

the Defendant as outlined below.


       Accordingly, it is now


       ORDERED:


       The Motion for Order Authorizing Investigator to Have Contact Visits with Defendant

Perez and to Bring a Laptop Computer Into the Facility (Doc. #57) is GRANTED. Counsel’s

Investigator, Julio Ojeda, is permitted to visit the Defendant in the Lee County Jail, with a laptop

computer for the purpose of reviewing the video discovery. Counsel and Investigator Ojeda
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shall comply with the guidelines outlined by the Lee County Jail for the use of electronic

equipment.


      DONE AND ORDERED at Fort Myers, Florida, this 27th Day of February, 2012.




Copies:
Counsel of Record
